       Case 1:19-cv-03042-TOR     ECF No. 31    filed 11/04/20   PageID.143 Page 1 of 2




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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    MARGARET PILLON,
                                Plaintiff,          NO: 1:19-CV-3042-TOR
 8
            v.                                      ORDER OF DISMISSAL
 9                                                  WITH PREJUDICE
      KLICKITAT COUNTY HEALTH
10    DEPARTMENT, KLICKITAT
      COUNTY, and CARLA DIONNE,
11                      Defendants.

12

13         BEFORE THE COURT is the parties’ Stipulation and Order for Voluntary

14   Dismissal with Prejudice (ECF No. 30). The stipulation was submitted for

15   consideration without oral argument. The Court has reviewed the record and files

16   herein, and is fully informed.

17         The stipulation is filed pursuant to Federal Rule of Civil Procedure

18   41(a)(1)(A)(ii) and provides for dismissal of all claims with prejudice and without

19   costs to all parties. Rule 41(a)(1)(A)(ii) provides for dismissal of an action by

20   filing a stipulation signed by all parties who have appeared.



     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
      Case 1:19-cv-03042-TOR      ECF No. 31    filed 11/04/20   PageID.144 Page 2 of 2




 1   ACCORDINGLY, IT IS HEREBY ORDERED:

 2         Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, all claims in this

 3   action are DISMISSED with prejudice, and without costs to all parties.

 4         The District Court Executive is directed to enter this Order and Judgment

 5   accordingly, furnish copies to counsel, and CLOSE the file.

 6         DATED November 4, 2020.

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 8                                  THOMAS O. RICE
                                 United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
